
PER CURIAM:
This claim was submitted for decision based upon the allegations in the Notice of Claim and respondent's Answer.
Claimant, an inmate at the Eastern Regional Jail, in Berkeley County, seeks $100.00 for items of personal property that were entrusted to respondent’s employees. Thus far, respondent’s employees have been unable to produce claimant’s personal property.
In its Answer, respondent admits the validity of the claim and that the amount is fair and reasonable. The Court is aware that respondent does not have a fiscal method for paying claims of this nature; therefore, the claim has been submitted to this Court for determination.
The Court has taken the position in prior claims that a bailment situation has been created if properly of an inmate which is taken from that inmate remains in the custody of respondent, and is not produced for return to the inmate at a later date.
Accordingly, the Court makes an award to the claimant herein in the amount of$100.00.
Award of $100.00.
